      Case 4:07-cv-05944-JST Document 2827-1 Filed 09/09/14 Page 1 of 2




 1 SHEPPARD MULLIN RICHTER & HAMPTON LLP
       A Limited Liability Partnership
 2     Including Professional Corporations
     GARY L. HALLING, Cal. Bar No. 66087
 3   JAMES L. McGINNIS, Cal. Bar No. 95788
     MICHAEL W. SCARBOROUGH, Cal. Bar No. 203524
 4   TYLER M. CUNNINGHAM, Cal. Bar No. 243694
     Four Embarcadero Center, 17th Floor
 5   San Francisco, California 94111-4106
     Telephone: 415-434-9100
 6   Facsimile:    415-434-3947
     E-mail:       ghalling@sheppardmullin.com
 7                 jmcginnis@sheppardmullin.com
                   mscarborough@sheppardmullin.com
 8                 tcunningham@sheppardmullin.com

 9 Attorneys for Defendants
   SAMSUNG SDI AMERICA, INC.,
10 SAMSUNG SDI CO., LTD.,
   SAMSUNG SDI (MALAYSIA) SDN. BHD.,
11 SAMSUNG SDI MEXICO S.A. DE C.V.,
   SAMSUNG SDI BRASIL LTDA.,
12 SHENZEN SAMSUNG SDI CO., LTD. and
   TIANJIN SAMSUNG SDI CO., LTD.
13
14                                 UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN FRANCISCO DIVISION

17                                                     Master File No. 3:07-cv-5944-SC
   In re: CATHODE RAY TUBE (CRT)
18 ANTITRUST LITIGATION                                MDL No. 1917

19                                                     DECLARATION OF TYLER M.
     This Document Relates to:                         CUNNINGHAM IN SUPPORT OF
20                                                     SAMSUNG SDI DEFENDANTS’
     ALL ACTIONS                                       OPPOSITION TO PLAINTIFF THE
21                                                     STATE OF CALIFORNIA’S
                                                       ADMINISTRATIVE MOTION FOR
22                                                     ORDER ISSUING REVISED LETTERS
                                                       OF REQUEST FOR TAKING OF
23                                                     EVIDENCE FROM WOONG TAE
                                                       (W.T.) KIM AND MYUNG JOON (M.J.)
24                                                     KIM OF THE REPUBLIC OF KOREA

25
26
27
28

     Case No. 07-5944-SC; MDL No. 1917          CUNNINGHAM DECL. I/S/O SAMSUNG SDI DEFS.’ OPP. TO
                                                      PL.’S MOT. FOR REVISED LETTERS OF REQUEST
      Case 4:07-cv-05944-JST Document 2827-1 Filed 09/09/14 Page 2 of 2




 1          I, Tyler M. Cunningham, do hereby declare as follows:
 2          1.      I am a member of the bar of the State of California and an associate with
 3 Sheppard, Mullin, Richter & Hampton LLP, counsel of record for defendants Samsung
 4 SDI America, Inc., Samsung SDI Co., Ltd., Samsung SDI (Malaysia) Sdn. Bhd., Samsung
 5 SDI Mexico S.A. De C.V., Samsung SDI Brasil Ltda., Shenzen Samsung SDI Co., Ltd.,
 6 and Tianjin Samsung SDI Co., Ltd. (collectively “SDI”) in these actions. I make this
 7 declaration in support of SDI’s Opposition to Plaintiff the State of California’s (“Plaintiff”)
 8 Administrative Motion for Order Issuing Revised Letters of Request for Taking of
 9 Evidence From Woong Tae (W.T.) Kim and Myung Joon (M.J.) Kim of the Republic of
10 Korea (Dkt. No. 2794). Except for those matters stated on information and belief, about
11 which I am informed and which I believe to be true, I have personal knowledge of the
12 matters set forth herein, and could and would testify competently to each of them.
13          2.      Attached hereto as Exhibit A is a true and correct copy of a letter dated
14 October 15, 2012 from Mario N. Alioto to Wilson Mudge. The letter indicates that several
15 attorneys representing Plaintiff were copied, including Emilio Varanini, Michael
16 Jorgenson and Paul Moore.
17          3.      Attached hereto as Exhibit B is a true and correct copy of a letter dated
18 December 24, 2012 from William D. Temko to Mario N. Alioto.
19          I declare under penalty of perjury under the laws of the United States that the
20 foregoing is true and correct.
21          Executed on September 9, 2014 at San Francisco, California.
22                                                        /s/ Tyler M. Cunningham___
                                                         TYLER M. CUNNINGHAM
23
24
25
26
27
28
                                                   -1-
     Case No. 07-5944-SC; MDL No. 1917          CUNNINGHAM DECL. I/S/O SAMSUNG SDI DEFS.’ OPP. TO
                                                      PL.’S MOT. FOR REVISED LETTERS OF REQUEST
